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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                               3:94cr3136/RV


BENNIE CLEVELAND WILLIAMS


                                                 ORDER

        The defendant has filed a notice of appeal (doc. 334) which this court construes as
a request for a certificate of appealability.1 Defendant appeals the court’s denial of his
motion pursuant to 18 U.S.C. § 3582(c)(2). (Doc. 333). Unless a certificate of appealability
is issued, the defendant may not take an appeal from the final order denying Section 2255
relief, or relief pursuant to Rule 60(b). See 28 U.S.C. 2253(c)(1)(B); Gonzalez v. Secretary
of Department of Corrections, 317 F.3d 1308, 1312 (11th Cir. 2003). It does not appear that
a certificate of appealability is required under the circumstances in this case where a
defendant seeks to appeal the denial of a motion pursuant to § 3582 that was not
construed as a § 2255 motion. See United States v. Hernandez, 2004 WL 1147258, *1
(4th Cir. 2004) (finding no certificate of appealability required, citing                   28 U.S.C. §
2253(c)(1)(B)); Lowe v. United States, 2007 WL 41951, *1 (M.D.Ga. 2007) (same); United
States v. Robinson, 2006 WL 2350016, *2 (E.D.Tex.,2006) (same); U.S. v. Camarillo-
Hernandez, 2003 WL 1529582, *1 (5th Cir. 2003) (reviewing merits of § 3582 appeal
without certificate of appealability); United States v. Lindsey, 3 Fed.Appx. 116-117, ,**1
(4th Cir. 2001) (same); compare United States v. Walters ,213 Fed.Appx. 190, *191, 2007
WL 136694, **1 (4th Cir. 2007); United States v. Crawford , 2007 WL 1745876, *1 (11th


        1
         See Edwards v. United States, 114 F.3d 1083 (11TH Cir. 1997) (district courts must treat notices of
appeal in Section 2255 actions as applications for certificates of appealability).
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Cir. 2007); United States v. Perez, 197 Fed.Appx. 895, *896, 2006 WL 2805648, **1 (11th
Cir. 2006); United States v. Jackson, 187 Fed.Appx. 381, 2006 WL 1824839, **1 (5th Cir.
2006); United States v. Miller, 116 Fed. Appx 457 (4th Cir. 2004). To the extent one would
be required, the court finds that defendant has not made a substantial showing of a denial
of a constitutional right for the reasons stated in the court’s order denying his original
motion. (Doc. 333). Thus, his request for a certificate of appealability will be denied.
        Defendant has not filed a motion for leave to proceed in forma pauperis. The court
finds that the appeal is not taken in good faith and he is not otherwise entitled to so
proceed. Fed.R.App.P. 24(a)(3). Defendant shall therefore pay the $455.00 filing fee
within thirty days.


        DONE AND ORDERED this 3rd day of October, 2007.




                                          /s/ Roger Vinson
                                          ROGER VINSON
                                          SENIOR UNITED STATES DISTRICT JUDGE




Case No: 3:96cr57/RV; 3:03cv2/RV/MD
